Case 8:22-cr-00437-WFJ-SPF Document 58 Filed 03/22/24 Page 1 of 3 PageID 276




                          UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

                                  CASE NO. 8:22-CR-437-WFJ-SPF


 UNITED STATES OF AMERICA

 v.

 JOHN LEE
   A/K/A “GIOVANNI”


      UNOPPOSED MOTION FOR SPECIAL ADMISSION OF ZACH INTRATER
          FOR THIRD PARTY PETITIONER UNDER LOCAL RULE 2.01

       Zach Intrater, Esquire, moves under M.D. Fla. L.R. 2.01(c) for special admission to

represent third party petitioner Simon Alfaks in this action. In support of this Motion, I state as

follows:

       1.      I am neither a Florida resident nor a member in good standing of The Florida Bar.

       2.      I am a member in good standing of a bar of a United States district court;

specifically, the Southern District of New York, the Eastern District of New York, the District of

New Jersey, and the Eastern District of Michigan.

       3.      I have not abused the privilege of special admission by maintaining a regular law

practice in Florida. I have initially appeared in the last thirty-six months in these cases in state or

federal court in Florida: none.

       4.       I will comply with the federal rules and this Court’s local rules.

       5.      I am familiar with 28 U.S.C. § 1927, which provides:

       Any attorney or other person admitted to conduct cases in any court of the United States
or any Territory thereof who so multiplies the proceedings in any case unreasonably and
vexatiously may be required by the court to satisfy personally the excess costs, expenses, and
attorneys’ fees reasonably incurred because of such conduct.
Case 8:22-cr-00437-WFJ-SPF Document 58 Filed 03/22/24 Page 2 of 3 PageID 277




       6.      I have paid the fee for special admission or will pay the fee upon special admission.

       7.      I will register with the Court’s CM/ECF system.

       8.      I affirm the oath, which states:

        I will support the Constitution of the United States. I will bear true faith and allegiance to
the government of the United States. I will maintain the respect due to the courts of justice and all
judicial officers. I will well and faithfully discharge my duties as an attorney and officer of this
Court. I will conduct myself uprightly and according to the law and the recognized standards of
ethics of the legal profession.

                                               /s/Zach Intrater
                                               ZACH INTRATER
                                               New York Bar No. 4265880
                                               New Jersey Bar No. 332262023
                                               zach@agilawgroup.com
                                               AGNIFILO INTRATER LLP
                                               445 Park Avenue, 7th Fl.
                                               New York, NY 10022
                                               Telephone: (646) 205-4350
                                               E-service: contact@agilawgroup.com


Dated: March 22, 2024                          Respectfully Submitted,

                                               /s/ Barbara R. Llanes
                                               BARBARA R. LLANES
                                               Florida Bar No. 1032727
                                               bllanes@gsgpa.com
                                               GELBER SCHACHTER & GREENBERG, P.A.
                                               One Southeast Third Avenue, Suite 2600
                                               Miami, Florida 33131
                                               Telephone: (305) 728-0950
                                               Facsimile: (305) 728-0951
                                               E-service: efilings@gsgpa.com




                                                  2
Case 8:22-cr-00437-WFJ-SPF Document 58 Filed 03/22/24 Page 3 of 3 PageID 278




                               Local Rule 3.01(g) Certification

       Undersigned counsel has conferred with counsel for the government and represents that

the government does not oppose Zach Intrater’s special admission.


                                           /s/ Barbara R. Llanes
                                           BARBARA R. LLANES




                                              3
